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                                            THE CITY OF NEW YORK
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                                                                    February 21, 2023


       VIA ECF
       Honorable Vera M. Scanlon
       United States Magistrate Judge
       Eastern District of New York
       225 Cadman Plaza East
       Brooklyn, New York 11201

                             Re:     Greco v. City of New York, et al.
                                     Docket No. 22 Civ. 5109 (FB)(VMS)

       Dear Judge Scanlon:

                     I am an Assistant Corporation Counsel in the office of Hon. Sylvia O. Hinds-
       Radix, Corporation Counsel of the City of New York, attorney for Defendants in the above-
       captioned matter. I write today on behalf of both parties pursuant to the Court’s February 10,
       2023 Order that the parties file a joint letter as to whether discovery should proceed or be stayed
       while the motion to dismiss is pending. The parties respectfully request that discovery be stayed
       while Defendants’ motion to dismiss is pending.

                        Pursuant to Rule 26(c), “a district court may stay discovery during the pendency
       of a motion to dismiss for ‘good cause shown.’” Chesney v. Valley Stream Union Free Sch. Dist.
       No. 24, 236 F.R.D. 113, 115 (E.D.N.Y. 2006). There is good cause for issuing a stay in this case
       because, if granted, Defendants’ motion will be fully dispositive, and it is Defendants’ position
       that they have a strong basis for dismissing Plaintiff’s claims as a matter of law. See Spencer
       Trask Software & Info. Servs. v. RPost Int’l, 206 F.R.D. 367, 368 (S.D.N.Y. 2002)(granting stay
       of discovery where “defendants do appear to have substantial arguments for dismissal of many,
       if not all, of the claims asserted in this lawsuit”). Both parties will thus be spared the time and
       expense of conducting costly discovery on Plaintiff’s claims if Defendants’ motion is fully
       granted.

                     As such, the parties respectfully request a stay of discovery pursuant to Rule 26(c)
       during the pendency of Defendants’ motion. The parties thank the Court for its attention to this
       matter.
                                                                    Sincerely,


                                                                    Andrea O’Connor
                                                                    Assistant Corporation Counsel
       cc: Plaintiff’s Counsel (via ECF)
